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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ANTHONY and RACHEL PEREA,

               Plaintiffs,

v.                                                          No. 1:16-cv-01311-MV-KK

FARMERS INSURANCE COMPANY,

               Defendant.

                             STIPULATED ORDER OF DISMISSAL

       THIS MATTER comes before the Court on the Joint Motion for Dismissal With

Prejudice filed by the Plaintiffs and Defendant on March 6, 2017, [Doc. 11]. The Court, having

reviewed the Joint Motion, and being familiar with the premises, acknowledges that the parties

have entered into a settlement of the above matter, intended to resolve all claims, causes of

action, counterclaims and defenses that have been asserted or that could have been asserted

herein by and between the parties to this lawsuit. The Court hereby finds that the Joint Motion

for Dismissal With Prejudice should be GRANTED, and ORDERS that Plaintiffs’ claims are

dismissed with prejudice. Each party agrees to bear its own costs and fees incurred in the case.

       IT IS SO ORDERED.



                                             __________________________________________
                                             MARTHA VÁZQUEZ
                                             UNITED STATES DISTRICT JUDGE




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